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Attorneys for Defendant

NAMDY CONSULTING, INC.,
Plaintiff,

vs.

CIGNA HEALTH AND LIFE

fNSURANCE COMPANY., a

Califomia Corporation, and DOES 1

through 20, inclusive,

Defendants.

 

 

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CIGNA HEALTH AND LIFE INSURANCE COl\/IPANY

UNITED STATES DIS'I`RICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case No. 2:16-€\1-02299

STIPULATION R`EGARDING
LEAVE TO FILE AMENDED
COMPLAINT

Complaint Filed: 02/17/16

 

 

 

ST[PULATION REGARDING AMENDEI) COMPLAIN'I`

2:16»-(:\'-02299

 

 

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WHEREAS:

l. Plaintiff Narndy Consulting, Inc. (“Narndy”) filed its original complaint
against defendant Cigna Health and Lit`e lnsurance Conipany (“CHLIC”) on or about
Fel)i'uary l7, 20l6 in Los Angeles Superior Court in the action entitled Namdy
Consulting, Inc. v. Cigna Health and Life Insurance Company, Case No. 16K01925 (the
“State Court Action”);

2. Namdy thereafter filed a First Amended Cornplaint against CHLIC in the
Los Angeles Superior Court on or about April l, 2016, but did not serve the First
Arnended Complaint on CHLIC until April 6, 2016;

3. On A.pril 4, 2016, CHLIC, having received no notice of the First
Amended Cornplaint, filed an Answer in the State Court Action and, that same day,
filed a Notice of Rernoval of the State Court Action to the Central District Court
(Docl<;et No. l); and

4. CHLIC has recently discovered that two additional related entities should
be included as defendants to this action, including Connecticut General Life Insurance
Cornpaliy and Cigna Healthcare of California, lnc. (together with CHLIC referred to as
“Cigna”).

WHEREFORE, the Parties hereby stipulate and agree that:

l. Narndy shall be permitted to tile an amended complaint, attached hereto
as Exhibit 1, in this Court Which asserts the same allegations and claims as set forth in
the First Amended Cornplaint but that includes all appropriate Cigna defendants; and
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STIPULATION REGARDING AMENDED COM].’LAINT 2:16»cv-02299

 

 

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l 2. Cigna shall be granted a 30-day extension to provide a response to the

2 amended complaint under Local Rule 8-3.

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4 IT IS SO STIPULATED.

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6 DATED: April 25, 2016

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g By /s/

Hani Farah

9 Attorneys for Plaintit`f
10 NAl\/£DY CONSULTING, INC.
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DATED: April 19, 2016 CoLE PEI)RozA LLP
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14 By /s/
15 Dana L. Stenvick
Attorneys for Defendant
16 CIGNA HEALTH AND LIFE INSURANCE
17 COMPANY
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ST[PULATION REGARI)ING AM_ENDEI) C()MPLAINT 2:16»cv»02299

 

 

 

 

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EXHIBIT l

 

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NAMDY CONSULTING, INC.

SUPERIOR COURT OF 'I`HE STA'I`E OF CALIF{)RNIA
FOR ’I`HE COUNTY OF LOS ANGELES

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NAMDY CoNsUL'rING, INC., ) Case NO.: 16K01925

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NAMDY CONSULTING, INC.'S

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14 V~ ) r. RECOVERY or PAYMEN'r
roa sERvICss RENDERED;
15 ) 2. RECOVERY on oPEN eeoa
16 CJGNA HEALTH AND LIFE iNsURANcE ACCOUNT;
COMPANY, Connecticut General Life ) § §§EAN§%FM§;EIT’
17 lnsurance Cornpany, Cigna Healthcare of § ' CON?RACT_I IED
tja:ifornra, Inc., and DOBS 1 through 20, ) 5_ DECLARATORY RELIEF
inc “S“"°“ 6. NEGLIGENCE PER sE; and
) 7. rNTERFERENCB thn
PRosPsCrr\/s acoNoMic
Def@ndam- ) ADVANTAGE
)
(JURY rRiAL REQUss'rsD)

Darnages: LIMITED: Between $10,000
and $25,000

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Plaintiff NAMDY CONSULTING, INC. (hereafter referred to as "NAMDY") hereby

complains and alleges‘.

GENERAL ALLEGATIONS

l. NAMDY is and at all relevant times was a corporation, organized and existing under the

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laws of the State of California, and Was a resident of the County of Los Angeles.

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2. NAMDY is and at all relevant times was in the business of purchasing and collecting

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accounts receivable on behalf of various other companies, including without limitation

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professional business entities engaged in the business of providing patients with medical

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services, medications, devices, and any other services related to healthcare

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3. NAMDY Was, at all relevant times, an assignee of J.S.E. Ernergency Medical Group lnc.

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(hereinafter referred to as "Pliysicians“), who were fully licensed, certificated, and in

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good standing under the laws of the State of Callfornia. A copy of the assignment

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agreement is attached as Exhibit A.

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4. Physicians provided medical care, services, treatment, and/or procedures and services to
members, subscribers, or insureds of CIGNA HEALTH AND LIFE iNSURANCE
COMPANY, a Connecticut Corporation; and DOES l through 20, inclusive (Hereinafter
“DEFENDANT” or “DEFENDANTS”) from 01/01/2012 onward Physicians became
entitled to reimbursement, payment and/or indemnification from DEFENDANT for those
services and supplies rendered Physicians have assigned their right to payment and to
collect their fees from DBFENDANT to NAMDY. Details of these services are set forth
in Exhibit B.

5. 'l`he facts and information alleged within are alleged on information and belief. lndeed,

DEFENDANTS are better~positioned to know exactly which members received

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treatment on the dates specified and the payments involved, and discovery in this case
will very likely confirm NAMDY’s allegations herein or lead to correction and!or
amendment of said allegations

6. DEFENDANT is a Connecticut corporation licensed to do business in and is and was
doing business in the State of California, as an insurer NAMDY is informed and
believes that DEFENDANT is licensed by the Departrnent of Insurance to transact the
business of insurance in the State of California. DEFENDANT is, in fact, transacting the

business of insurance in the State of California and is thereby subject to the laws and

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regulations of the State of California.

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7. 'l`he true names and capacities, whether individual, corporate, associate, or otherwise, of

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DEFENDANTS, are unknown to NAMDY, who therefore sues said defendants by such

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fictitious names. NAMDY is informed and believes and thereon alleges that each of the

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defendants designated herein as a DOE is legally responsible in some manner otto some

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extent for the events and happenings referred to herein and legally caused injury and

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damages proximately thereby to NAl\/.[DY. NAMDY will seek leave of this Court to

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amend this Cornplaint to insert their true names and capacities in place and instead of the

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fictitious names when they become known to it.

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8. At all times herein mentioned, unless otherwise indicated, defendants were the agents
and/or employees of each of the remaining defendants, and were at all times acting
within the purpose and scope of said agency and employment, and each defendant has
ratified and approved the acts of his agent At all times herein mentioned,
DEFBNDANTS had actual or ostensible authority to acton each other’s behalf in
certifying or authorizing the provision of medical services; processing and administering
the claims and appeals; pricing the claims; approving or denying the claims; directing
each other as to whether to pay and/or how to pay claims; issuing remittance advices and

explanations of benefits statements; and, making payments to NAMDY and its patients

FACTS

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8. This complaint arises out of the failure of DEFENDANT to make payments due and
owing to Physicians for medical services, care, treatment, and procedures provided to
numerous patients (hereafter referred to as "Patients"), all of whom were insureds,
members, policyholders, certificate-holders, or were otherwise covered for health,
hospitalization, pharmaceutical expenses, and major medical insurance through policies
or certificates of insurance issued and underwritten by DEFlElNDANT.f

9. None of the claims and/or causes of action in this Cornplaint are derivative of the

contractual rights of the patients in no way does NAMDY seek to enforce the

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contractual rights of the patients through the patients’ insurance contracts, policies,

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certificates of coverage, and/or any other written insurance agreements between

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DEFENDANT and any patients The claims and causes of action are based upon the

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relationship and interactions between NAMDY and DEFENDANT and upon the fact that

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the Patients were covered by DEFENDANT.

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l(). NAMDY is informed and believes that each of the Patients were insured by

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DEFENDANT either as a subscriber to coverage or a dependent of a subscriber to

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coverage under a policy or certificate of insurance issued and underwritten by

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DEFENDANT. NAl\/iDY is informed and believes that each of the Patients entered into

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a valid insurance agreement with DEFENDANT for the specific purpose of ensuring that

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the Patients would have access to medically necessary treatments, care, procedures and
surgeries by medical practitioners like the Physicians and ensuring that DEFENDANT
would pay for the health care expenses incurred by the Patient.

ll. NAMDY is informed and believes, and on such information and belief alleges, that
DEFENDANT, received, and continues to receive, valuable premium payments from the
Patients and/or other consideration from the Patients under the subject policies applicable

to the Patients.

 

1 1 For privacy reasons and to comply with the llealth insurance Portability and Accountability Act of 1996
(“HIPPA“), the full names and identifying information pertaining to the patients has been withheld This
information will be disclosed to Defendants upon request

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lZ. At all relevant times, the Physicians provided medically necessary and appropriate
services, care, treatment, and/ or procedures to Patients holding valid insurance policies or
certificates issued by DEFENDAN'I`.

13. The Physicians have a reputation for providing high quality care, treatment, and
procedures 'l`heir charges for services are on par With the charges of other physicians in
the same general area for the same procedures and/or services. 'i`he Physicians' billed
charges are usual, customary, and reasonable

14. 'l`he Physicians vvho provided medical services to the Patients Were "out-ot`»networl<

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providers“ Who had no preferred provider contracts or other contracts With

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DEFENDANT at the time that the surgeries or procedures Were performed

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l5. lt is standard practice in the healthcare industry that When a medical provider enters into

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a written preferred provider contract With a health plan such as DEFENDANT, that the

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medical provider agrees to accept reimbursement that is discounted from the medical

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providers total billed charges in exchange for the benefits of being a preferred or

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contracted provider. Those benefits include an increased volume of business, because the
health plan provides financial and other incentives to its members to receive their
medical care and treatments from the contracted provider, such as advertising that the
provider is "in networ ", and allowing the members to pay lower co-payrnents and
deductibles to obtain care and treatment from a contracted provider. When health plans
such as DEFENDANT receive claims from in~netvvorl< providers, they adjust the total
charges submitted by the in-network provider and pay an agreed upon contract rate to the
in~network provider.

16. Conversely, When a medical provider, such as the Physicians, does not have a Written
contract with a health plan such that it is an out~of-network provider, the medical
provider receives no referrals from the health plan, as the health plan discourages its
members and subscribers from obtaining their care from the non-contracted providers

rl"he non-contracted provider has no obligation to reduce its charges, and is entitled to

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receive payment based on its billed or total charges for the services rendered (less any
copayments, coinsurance amounts, or deductibles owed by the Patients). ”l`he health plan
is not entitled to a discount from the medical provider's total billed charges for the
services rendered, because it is not providing the medical provider with the benefits of
increased patient volume that results from being an in-plan or in~networl< provider in
such cases, when a health plan such as DEFENDANT receives claims from the out-ot`-
network provider for the total charges billed by the out~of-network provider and then

adjusts those claims, paying only those billed charges which are in an amount equivalent

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to the usual and customary amount charged by similar providers rendering similar

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treatment in the same or similar geographical location (less copayrnents, coinsurance, and

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deductible amounts).

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17. The Physicians were legally required to offer and render medical services, care,

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treatment, and/or procedures to the Patients, who were members, insureds, or subscribers

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of DEFENDANT, because the services were emergent. For each of the Patient claims at

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issue here, the Physicians did in fact provide such emergency medical services, care,

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treatment, and/ or procedures to the Patients, as required by law.

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lS. Because the medical services, care, treatment, and/ or procedures rendered by the
Physicians to the Patients were emergent in nature, DEFENDANT was required by law
to compensate the Physicians at usual, customary, and reasonable rates.

l9. The claims at issue in this case are comprised of claims for medical services, care,
treatment, and/or procedures provided to members, insureds, or subscribers ot`
DEFENDANT by the Physicians, for which payments were made to the Physicians based
upon a sum unilaterally determined by DEFENDANT to be usual, customary, and
reasonable, which sums were not usual, reasonable or customary and were far less than

the Physicians' billed charges

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20. Following provision of medical services, care, treatment, and!or procedures by the
Physicians upon the Patients, invoices, bills and claims were submitted to
DEFENDANT, for adjustment and payment

21. l\/Iedical records pertaining to the Patients medical services, care, treatrnent, and/or
procedures were provided to DEFENDANT, by the Physicians. All information
requested by DEFENDANT relating to the medical services, care, treatinent, and/or
procedures provided by the Physicians to the Patients was supplied to DEFENDANT by

the l’hysicians.

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22. At all relevant times, the Physicians submitted their claims to DEFENDANT

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accompanied by lengthy operative reports, chart nctes, and other medical reeords. No

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matter whether large or small, all of the Physicians’ claims are submitted using CPT

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codes, liealthcare Comrnon Procedure Coding System ("HCPCS"), and modifiers, as

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necessary

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23. At all relevant times, the Physicians expected to be reimbursed by DEFENDANTS at the

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lesser of its billed charges or the then-current usual, customary, and reasonable rate,

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which is defined by California law as follows:

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A "usual" charge is the amount that is most consistently charged by an individual physician for a

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given service A "custornary" charge is the amount that falls within a specified range of usual
charges for a given service billed by most physicians with similar training and experience within
a given geographical area. A "reasonable“ charge is a charge that meets the Usual and
Custornary criteria, or is otherwise reasonable in light of the complexity of treatment of the
particular case. linder a UCR Prograni, the payment is the lowest of the actual billed charge, the

physicians usual charge or the area customary charges for any given covered service.

24. Rather than simply pay the Physicians the lesser of their billed charges or usual,
customary, and reasonable rates, DEFENDANT instead routinely and deliberately

reimbursed the Physicians‘ claims at below usual, customary, and reasonable levels,

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forcing Physicians to exhaust time and energy first identifying and then appealing
improperly reimbursed claims.

25. DEFENDANTS have failed and refused to pay any monies, benefits, insurance proceeds,
or make any payment to the Physicians in connection with the medically necessary
services, care, treatment, and/or procedures rendered to the Patients by the Physicians, or
have substantially underpaid benefits for such services at inappropriately low rates, using
illegal and/or flawed databases and systems to calculate reimbursement for non-

contracted providers and have failed and refused to pay the claims at usual, customary,

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and reasonable rates.

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26. At all relevant times, DEFENDANT has improperly paid the Physicians for medically

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necessary and appropriate services rendered to DEFENDANT's insured at rates far below

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the billed rates, even though there was no contractual relationship or preferred provider

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' relationship between the Physicians and DEFENDANT. For each of the Patient claims at

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issue in this action, the Physicians provided medical services to members and insureds of

DEFENDANT.

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27. 'l`he rates paid by DEFENDANT were not reasonable, customary, or usual, and were

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arbitrary, capricious and inexplicable Further, DEFENDANT has never explained how
they calculated, justified, rationalized or comprised their pricing and rate schedule for
non-contracted, out-of~network providers, such as the Physicians.

28. Often, the rates paid to the Physicians by DEFENDANT for the exact same procedure,
treatrnent, surgery, or service were paid at different rates during the same year. At other
times, the Physicians were paid rates which were below what they would have received
had they been a preferred or in-»network provider, even though such volume-discounted
rates would have been significantly lower than usual, reasonable and customary rates as
defined by Calit`omia law.

29. The Calit`ornia Department of Managed Health Care has adopted regulations that define
the amount that health care service plans such as DEFENDANT are obligated to pay

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non»contracted providers such as the Physicians. These regulations provide a
methodology for determining the rate to be paid to out-of~networl< emergency room

providers:

  
 
 
 
 
 
 
  
 
 
  

For contracted providers without a written contract and non-contracted providers . . . the
payment of the reasonable and customary value for the health care services rendered based
upon statistically credible information that is updated at least annually and takes into
consideration : (i) the providers training, qualifications and length of time in practice; (ii) the
nature of the services provided; (iii) the fees usually charged by thc provider; (iv) prevailing
provider rates charged in the general geographic area in which the services Were rendered;
(v) other aspects of the economics of the medical providers practice that are relevant; and (vi)

and unusual circumstances in the case.

28 Cal. Code Regs. Section l300.7l(a)(3)(B). (Ernphasis added.) These definitions are the same
criteria used by California Courts to determine the quantum meruit amounts that should be paid

for services rendered by non~contracted providers by insurers in California.

30. Based upon these criteria, the Physioians' charges are reasonable and customary The
Physicians charged DEFENDAN'§ the same fees that they charge all other payers.

3 l. NAMDY is informed and believes that DEFENDANT relied upon and utilized a flawed
database to make pricing determinations for the claims submitted by the Physicians on
behalf of the l’atients. DEFENDANT utilized that flawed database as a primary source of
data upon which it based its pricing determinations, even though DEFENDANT knew
that the data cannot and should not be used for that purpose DEFENDANT was fully
aware that its database was not properly designed to determine usual, customary, and
reasonable reimbursement amounts

32. NAl\/IDY is informed and believes and thereon alleges that DEFENDANT'$ system for
paying out-of-network claims is flawed, that DEFENDM\IT improperly manipulates the

data in its systems to underpay out-of-networl< medical provider claims, and that

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DEFENDANT's systems and methods for calculating such rates violate California law.
DEFENDANT has used flawed databases and systems to unilaterally determine What
amounts it pays to medical providers and has colluded With other insurers to artificially
underpay, decrease, limit, and minimize the reimbursement rates paid for services
rendered by non~contracted providers 'l"he issue of flawed databases has been
investigated by the U.S. Congress and Nevv Ycrk Attorney General and has been the
source of numerous lawsuits and class action suits filed in connection with the databases
utilized (known as Ingenix).

33. NAMDY is informed and believes that there are a number of inherent flaws in
DEFENDANT's database Whicla make that database invalid and inappropriate for setting
usaai, customary and reasonable rates Among other flaws, DEFENDANT‘s database:

a. Does not determine the numbers or types of providers in any geographic
area;

b. Does not determine the actual types of procedures performed Within a
geographic area;

c. Collects charge data Which is not representative of the actual number of
procedures performed Within a geographic area;

d. Does not collect sufficient data to enable its users to determine vvbether
the data reflects the charges of providers With any particular degree of
expertise or specialization;

e. l)oes not collect sufficient provider-specific data to enable its users to
determine Whether the charges are from one provider, from several
providers, or from only a minority subset of the providers in a geographic
area;

i`. Fails to compare providers ot` the same or similar training and experience

level and, instead, combines and averages all provider charges by

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procedure code Without separating the charges of physicians and non~
physicians;

g. Does not collect patient specific information such as age or medical
history or condition;

h. Does not ascertain the most common charge for the same service or
comparable service or supply;

i. Does not determine the place of service or type of facility;

j. Does not collect sufficient data to enable it or its users to determine an

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appropriate medical market for comparing like charges;

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k. Combines zip codes inappropriately, and uses zip codes instead of

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appropriate medical markets;

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l. Faiis to compare procedures that use the same or similar resources (and
other costs) to the provider but, rather, indiscriminately combines all
provider charges by procedure code Without regard to such factors;

rn. Fails to compare procedures of the same or similar complexity by, among
other things, failing to record or account for CPT code modifiers',

n. Does not use appropriate statistical methodology;

o. Does not properly consider charging protocols and billing practices
generally accepted by the medical community or specialty groups;

p. Does not properly consider medical costs in setting geographic areas;

q. Laci<s quality control, such as basic auditing, to ensure the validity,
completeness, representativeness, and authenticity of the data submitted;

r. ls subject to pre~editing by data contributors;

s. Repoits charges that are systematically skewed downward;

t. Uses relative values and conversion factors to derive inappropriate usual,

customary and reasonable amounts;

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u. Uses a methodology that does not comply with DEFENDANT's
contractual definition of usual, customary and reasonable; and
v. Purports to be confidential and/or proprietary, which prevents access to,
and scrutiny of, the data by members of their employers

34. These and other flaws render DEFENDANT’s use of its data system invalid and unlawful
for determining usual, customary, and reasonable rates By systematically and typically
making usual, customary, and reasonable rate determinations without compliant and
valid data to substantiate its determinations DEFENDANTS have breached their
obligations to reimburse Physicians for out»of-network services Accordingly, all past
usual, customary, and reasonable rate determinations based on DEFENDANT‘s data
system should be overturned

3 5. DEFENDANT used other improper pricing methods to reduce reimbursement to out-of-
network providers Accordingiy, DEFENDANTS violated, and continues to violate, its
legal obligations to Physicians to pay usual, customary, and reasonable rates of
reimbursement for services rendered to the Patients, insureds subscribers and members

36. DEFENDANT has received claims from the Physicians for a number of years As such,
DEFENDANT knew or should have known the rates that the Physicians charged for
various services Moreover, DEFENDANT knew or should have known the amounts
charged by other medical providers for medical services,\ care, and treatrnent, since it had
received, reviewed and processed, numerous claims for prior to processing the claims at
issue in this litigation lt is standard practice in the healthcare industry for medical
providers (whether in~network or not) to submit claims and bills showing the total
charges to health plans such as DEFENDAN'£` and for health plans such as
DEFENDANT to price those claims, based either upon the total charges or the
contractual rates offered to network providers

37. 'l`he Physicians have also been disparaged by the pervasive under-reimbursement

scheme When a patient refers to his/her evidence ot` coverage documents promulgated

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by DEFENDANTS, he/ she is led to believe that When he/ she seeks out~of~network care
their charges Will be paid by DEFENDANTS at the "usual and customary rate" of similar
physicians for a similar service in a similar area. When a patient obtains out-of-networl<
treatment from providers such as the Physicians and the provider submits the bill to the
insurer, a patient learns for the first time that he/ she Will not be fully reimbursed because
the doctor's charges are alleged by DEFENDANT to exceed the usual and customary
rate. "l`he physician-patient relationship is undermined, as the physicians have been

branded as a charlatan Whose bills are inflated and unreasonable

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38. At all relevant tim.es, DEFENDANT harmed the physicians by making improper usual,

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customary, and reasonable rate and pricing determinations that reduced the lawful

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reimbursement amounts for out-of-network providers without valid or compliant data to

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support such determinations DEFENDANT further harmed the Physicians by

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misapplying iri-network policies to out-of»networl< provider claims, and by delaying

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payments to out~of-networl< providers under the pretext of negotiation As a result of

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these actions, the Physicians Were financially harmed and forced to exhaust significant

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time and resources appealing DEFENDANT‘s unlawful determination through a process

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deliberately designed to deny, delay, and impede out-of-network physician providers
from obtaining their rightful reimbursement

39. Upon information and beliet`, DEFENDANT used and continues to use flawed database
data, among other sources, to understate the true market rates of medical care performed
by out-of~netvvorl< providers The improper use of this data has caused both patients and
out-of»network providers to experience significant losses. Patients are harmed because
payers like DEFENDANTS are not reimbursing out~of-network services at appropriate
levels, Which results in out-of~network providers increasingly billing their patients for
amounts charged, Which exceed the amounts DEFENDANTS cover. Out-of-network
providers like Physicians are harmed because they are not always able to collect these

balances from patients and are forced to take a loss for their services Moreover, because

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out~of-rietvvork providers are often unaware of the scheme that results in payers like
DEFENDANTS failing to pay appropriate usual, customary, and reasonable rates, they
are either powerless to appeal any such improper determinations or their efforts to appeal
these determinations are futile DEFENDANT, by contrast, benefits from paying out»of-
network providers at below market rates. lf, for example, out-of-network providers fail to
realize that the scheme is the cause of their underpayment, DEFENDANTS have
unlawfully retained money Which otherwise belongs to the Physicians for the services

provided DEFENDANT's ambiguity regarding its method for calculating usual,

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customary and reasonable rates reflects its participation in this deceptive practice

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FIRST CAUSE ()F AC'I`ION:

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FOR RECOVERY OF PAYMENT FOR SERVICES RENDERED

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(AS AGAINST ALL DEFENDANTS}

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40. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set

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forth herein

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4l. At all times herein mentioned, DEFENDANTS Were required by law to pay usuai,
reasonable, and customary rates for the emergency care provided by the Physicians to the
Patients, vvho were members or subscribers of DEFENDANT. California Health and
Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.4th 211.

42. At all relevant times, the Physicians rendered care, treatment, and services to the Patients
in good faith and in reliance upon the legal requirement that insurers pay for the
emergency medical care of those they insure DEFENDANTS bad a duty to pay,
reimburse indemnify, and cover the Physicians for the care, treatment and services
rendered by the Physicians to the Patients pursuant to California Health & Safety Code
§§ 1371, l37l .35, and l371.4 following the rendition of services and treatment by the
Physicians to the Patients. Further, DEFENDANTS had a duty to pay usual, customary,

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and reasonable rates for the services rendered by the Physicians in compliance with 28
California Code of Regulations § 1300.71 et seq. Fcr the Patients, DEFENDA_NTS have
failed and refused to comply with 28 California Codc of Regulations § l300.7l et seq.

43. At all relevant times, the Physicians rendered care and treatment to the Patient. Each
defendant herein named had a duty to pay, reimburse and cover the cost of such
treatment and services by payment to the Physicians for the medical services, care,
treatment, and/or procedures rendered by the Physicians to the Patients, pursuant to
California Health & Safety Code §§ 1371, 1371.35, and 1371.4, and was prohibited from
denying or refusing coverage, payment, indemnity, or reimbursement for the cost for
treatment and services rendered by the Physicians to the Patients. Further,
DEFENDANTS had a duty to pay usual, customary, and reasonable rates for the services
rendered by NAMDY's assignor in compliance with 28 California Code of Regulations §
1300.71 et seq. and have failed and refused to pay usual, customary, and reasonable
amounts

44. At all relevant times, 28 California Administrative Code § 1300.7l et seq. required that
DEFENDANTS, reimburse the Physicians for the claims submitted on behalf of the
Patient within 45 days after DEFENDANTS received the Patient‘s claims from the
Physicians. 28 Cal. Admin. Code Tit. 28 Section 1300.7l(a)(3) defines the manner and
method by which reasonable and customary rates are to be defined by DBFENDANTS,

providing:

(B) For contracted providers without a written contract and non~contracted providers, except
those providing services described in paragraph (C) below: the payment of the reasonable and
customary value for the health care services rendered based upon statistically credible
information that is updated at least annually and takes into consideration: (i) the provider‘s
training, qualifications, and length of time in practice; (ii) the nature of the services provided;

(iii) the fees usually charged by the provider; (iv) prevailing provider rates charged in the general

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geographic area in which the services were rendered; (v) any unusual circumstances in the case;

and

(C) For non-emergency services provided by non~contracted providers to PPO and POS

enrollees: the amount set forth in the enrollee‘s Evidence of Coverage.

47. As a proximate result of the violation of California Health & Safety Code §§ l37l,
l37l.35, and 1371.4 and/or 28 California Code of Regulations. § 13700.1 by
DEFENDANTS, Which acts were intentional, willful and knowing, the Physicians have

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never been paid for any of the medical services, care, treatment, and/or procedures

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provided to the Patient or have been underpaid for such medical services, care, treatrnent,

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and/or procedures By their acts and omissions, DEFENDANTS have failed and refused

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to provide coverage and/or have underpaid the Physicians. DEFENDANTS have failed

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and refused to pay the usual, customary and reasonable value for the services rendered by

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the Physicians to the Patients.

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48. The Physicians are owed reirnbursement, compensation, and payment of the cost of the

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medical services, care, treatment, and/or procedures which they rendered and provided to

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the Patient at the Physicians‘ billed rates or at rates equivalent to tire usual, customary,
and reasonable value t`o`r their services, in conformance with the legal requirements that
they provide emergency care to any patient and that the insurance of any patient who
receives emergency care pay the provider of the care at usual, customary, and reasonable

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49. As required by law (because the medical services provided were emergency services), the
Physicians provided surgeries, procedures, medical treatments, and/or other medical
services to the patients, thereby benefitting DEFENDANTS and the Patients. At all times
herein mentioned, DEFENDANTS were required by law to pay usual, reasonable, and

customary rates for the emergency care provided by the Physicians to the Patients, who

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were members or subscribers of DEFENDANT. California Health and Safety Code §
137l.4; Bell v. Blne Cross, 131 Cal.App.dth 21 l.

 

50. The Physicians have demanded that DEFENBANT pay for the medical services provided
to the Patient, and has submitted statements to DEFENDANT for the medical services
rendered to the Patient.

51. DEFENDANTS have failed and refused to pay, and continue to refuse to pay the
Physicians for such services rendered at appropriate rates and have underpaid the
Physicians by failing and refusing to pay usual, customary, and reasonable rates

Accordingly, there is now due and owing an unpaid sum, plus statutory interest thereon

SECOND CAUSE OF ACTION:
FOR RECOVERY OF PAYMEN'I` ON OPEN BO{)K ACC()UNT
(AS AGAINST ALL DEFENDANTS)

52. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
forth herein

53. DEFENDANTS have become indebted to the Physicians on open book accounts for the
Patients, for money due in the sum to be determined at the time of trial for medical
services rendered by the Physicians to the Patients.

54. The Physicians have provided medical services to the Patients, and have maintained
contemporaneous, itemized, and detailed records and statements of each medical service
provided to the Patients. The Physicians have provided DEFENDANT with statements
itemizing the medical treatment provided to the Patients, along with an accounting of the

amounts owed by DEFENDANT.

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55. DEFENDANTS have refused to pay, and continue to refuse to pay, the Physicians the
billed charges submitted by the Physicians and/or the usual and customary charges owed
to the Physicians for the medical services, care, treatment, and/or procedures provided to
the Patients. Accordingly, there is now due and owing an unpaid sum in an amount to be

determined at the time of trial, plus statutory interest
THIR}) CAUSE ()F ACTION:
FOR OUANTUM MERUIT
(AGAINST ALL DEFENDANTS)

59. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
forth herein

60. As required by law (because the medical services provided were emergency services), the
Physicians provided surgeries, procedures, medical treatments, and other medical
services to the Patients, thereby benefitting DEFEN"DANT and the Patients.

61. DEFENDANTS have failed and refused to pay the Physicians the appropriate amounts
incurred by the Physicians in rendering medical services, care, treatment, and/or
procedures to the Patients, have underpaid those costs and have failed and refused to pay
the usual, reasonable and customary costs of those services

62. At all times herein mentioned, DEFENDANTS were required by law to pay usual,
reasonable, and customary rates for the emergency care provided by the Physicians to the
Patients, who were members or subscribers of DEFENDANT. California Health and
Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.¢lth 211.

63. DEFENDANT is required to reimburse the Physicians at a quantum meruit rate for all
services rendered to the enrollees, the l’atients. The quantum meruit amount owed by
DEFENDANT to the Physicians is determined according to the customary charges that

would be billed by the Physicians and/or other physicians in the absence of preferred

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provider or participating provider contractual rates. Based upon the fact that the
Physicians were required to provide care and that DEFENDANT was benefitted by the
provision of such services by the Physicians, an obligation on the part of DEFENDANT
to make restitution to the Physicians arose.

64. The quantum meruit rate for the medical treatment the Physicians provided to the
Patients is an amount to be determined at trial. This amount represents the usual,
customary, and reasonable cost or charge for the services rendered by the Physicians. The

Physicians have submitted statements to DEFENDANT for these amounts, and have

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made repeated demands that they be paid for the medical treatment provided to the

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Patient at usual, customary, and reasonable rates.

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65. DEFENDANTS have refused to pay, and continue to refuse to pay, the Physicians for the

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whole or any part of the sums owed to the Physicians for the medical services, care,

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treatment, and/orprocedures provided to the Patient, at usual, customary, and reasonable

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rates. Accordingly, there is now due and owing an unpaid sum, plus statutory interest

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FOURTH CAUSE OF ACTION:

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FOR BREACH ()F IMPLIED CONTRACT

{AS AGAINST ALL DEFENDANTS)

66. Plaintiff incorporates ali allegations set forth in the above paragraphs as though fully set
forth herein

67. NAMDY is inforrned, believes, and thereon alleges that, at all relevant times herein, the
Patients had valid policies with DEFENDANT or were members, subscribers, insureds,
or were otherwise entitled to coverage, indemnification and payment as policyholders or
certificate-holders of insurance policies and certificates issued and underwritten by

DEFENDANT.

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68. NAMDY is informed and believes that the Patients obtained such policies from
DEFENDANT for the specific purposes of (l) ensuring that the patients would have
access to medically necessary treatments at healthcare facilities, and (2) ensuring that
DEFENDANT would pay for the healthcare expenses incurred by the patients
DEFENDANT knew or reasonably should have known that its insured would seek
medical treatment from the Physicians.

69. NAMDY is informed and believes that DEFENDANT received and continues to receive

valuable premium payments from the Patients under the relevant insurance policies

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70. Since Physicians were required by law to treat the Patients in emergency situations, they

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agreed by implication to treat the Patients. DEFENDANT, by law, was required to pay

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Physicians at the usual, customary, and reasonable rate for emergency services and

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therefore agreed by implication to pay UCR rates to Physicians. California Health and
Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.f-lth 211.

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71 . In consideration for the Physicians‘ implied agreement to treat the Patients,

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DEFENDANT, implicitly agreed to reimburse the Physicians for the expenses incurred

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by the Patients in the course of being treated and undergoing medical services, care,

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treatment, and/or procedures rendered by the Physicians and agreed to pay the Physicians

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a usual, customary, and reasonable rate for those services

72. The Physicians provided medicai treatment or care to the Patient. DEFENDANT has
refused to pay, and continues to rehise to pay, the Physicians for the whole or a part of
the sums owed to the Physicians at appropriate rates for the treatment services provided
to the Patients.

73. As a result of the foregoing breach, DEFENDANT has damaged the Physicians in an
amount to be determined at trial. Accordingly, there is now due and owing an unpaid
surn, plus statutory interest thereon The total amount owed is presently understood to be

more than $25,000.00.

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FIFTH CAUSE OF ACTION:

FOR DECLARATORY RELIEF

 

§_A_S AGAINST ALL DEFENDANTS)

73. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
forth herein

74. A dispute has arisen between the Physicians and DEFENDANT as to the amount that
DEFENDANT is required to pay the Physicians for the medically necessary services
provided by the Physicians to the Patients. DEFENDANT contends that it owes the
Physicians nothing in connection with the medical services, care, treatment, and/or
procedures provided to the Patients. The Physicians contend that they are entitled to
receive payment in an amount to be determined at trial, plus statutory interest, for the
medical services provided to the Patients during the course of their treatment

75. `NAMDY seeks and desires a judicial determination by the Court that DEFENDANT is
required to pay the Physicians for the medical services, care, treatment, and/ or
procedures provided to the Patients during the course of their treatment by the Physicians
at the billed or total rates charged by the Physicians.

76. Such a declaration is necessary and appropriate at this time so that the Physicians and
DEFENDANT may ascertain their rights, duties, and obligations concerning the medical

services the Physicians provided to the Patients.

SIXTH CAUSE OF ACTION:

FOR NEGLIGENCE PER SE

 

(AS AGAINST ALL DEFENDAN'I`S)

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77. Plaintiff incorporates by reference all previous paragraphs as though fully set forth
herein.

78. At all times herein mentioned, defendants were required by law to pay usual, reasonable
and customary rates for the emergency care provided by the Physicians to the Patients,
who were members or subscribers of DEFENDANT. California Health and Safety Code
§ l37l.4; Bell v. Blue Cross, 131 Cal.App.4th 211.

79. DEFENDANTS had a duty to pay, reimburse, indemnify, and cover the Physicians for
the medical services, care, treatment, and/or procedures rendered by the Physicians to the
Patients pursuant to California Health & Safety Code §§ 1371.1, 1371.8, and/or
Caiifornia insurance Code § 796.04 following the rendition of services and treatment by
the Physicians to the Patients. Further, DEFENDANTS had a duty to pay usual,
customary, and reasonable rates for the services rendered by the Physicians in
compliance with 28 California Code of R.egulations § l300.7l et seq. For the Patients,
DEPENDANTS have failed and refused to comply with 28 California Code of
Regulations § 1300.'71 et seq.

80. DEFENDANTS had a duty to pay, reimburse, compensate, cover and indemnify the
Physicians at their billed rates or at usual, customary, and reasonable rates for the
services, treatment, care and pharmaceuticals rendered by the Physicians to the Patients
in compliance with the legal requirement that insurers cover emergency medical care
provided to those they insure Such duties arose by virtue of California liealth & Safety
Code §§ 1371.8, 137l.l, and 1371.4, by virtue of California lnsurance Code § 796.04
and by virtue of 28 California Code of Regulations § 1300.71 et seq.

8l. Each of the statutes herein mentioned was intended to prevent, prohibit, and preclude the
type of damage suffered and sustained by the Physicians. Each of the statutes herein
mentioned was intended to prevent, prohibit, and preclude DEFENDANTS from failing
and refusing to pay, compensate, reimburse, cover, and indemnify the Physicians for the

medical services, care, treatment, andjor procedures they provided to the Patients and

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from being underpaid by DEFENDANT for such medical services, care, treatrnent,
and/or procedures Each of the statutes herein mentioned was intended to prevent,
prohibit, and preclude DEFENDANTS from refusing to pay, compensate, reimburse,
cover, and indemnify the Physicians for the medical services, care, treatment, and/or
procedures they provided to the Patients and/cr from underpaying such clairns.

82. The Physicians are members of the class of persons and/or entities to be protected by
these statutes, since they were "providers" of medical care which rendered health care
services in good faith to DEFENDANTS’ members, subscribers, and insured the
Patients. DEFENDANTS were regulated by Calit`ornia law and are subject to Calit`ornia
Health & Sa:fety Code §§ 137l.l, 1371.4 and 1371.8, Calit`ornia Insurance Code § 796.04
and 28 California Code of Regulations § 1300.71 et seq.

83. As a proximate result of the violation of Calit`crnia Health & Safety Code §§ 1371.1,
1371.4, and l37l.8, California insurance Code § 796.94 and 28 California Code of
Regulations § 1300.71, et seq., by DEFENDANT and of the breaches of DEFENDANT‘s
duties to the Physicians, which acts were intentional, willful, and knowing, the
Physicians have never been paid, compensated, reimbursed, indeninitied, or covered for
the costs of the treatment, care and services it rendered to the Patient and/or has been
underpaid for such services 'l`he refusal of DEFENDANT to reimburse the Physicians
for the services provided to Patients insured by DEFENDANT is negligence per sa

84. The Physicians are owed reimbursement, compensation, and payment of the cost of the
medical services, care, treatment, and/ or procedures which they rendered and provided to
the Patients at the Physicians' billed rates, in conformance with the legal requirements
that they provide emergency care to any patient and that the insurance of any patient who
receives emergency care pay the provider of the care at usual, customary, and reasonable

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SEVENTH CAUSE OF ACTION:
FOR INTERFERENCEWITH PROSPECTIVE ECONOMIC ADVANTAGE
(AS AGAINST ALL DEFENDANTS)

85. Plaintiff incorporates by reference all previous paragraphs as though fully set forth
herein

86. For each service provided by the Physicians to each Patient, the Patient was required to
pay some portion of that bill as part of their deductible, as their coinsurance arnount,
and/or as their co-pay.

87. The explanation of benefit forms provided by DEFENDANT to both the Patients and the
Physicians lists an "aliowed amount" for each medical service to each Patient. lt is the
monetary amount that DEFENDANT unilaterally determined the services would be
reimbursed at.

88. The allowed amount was significantly lower than the billed amount for each service for
each Patient.

89. 'i`he Patients, rather than paying their portions (deductible, coinsurance, and/ or co-pay) ot`
the billed amounts, only paid their portions of the allowable amount

90. As a result, the Physicians received less money from the Patients than they would have if
the patients had not been, in effect, told by DEFENDANI` to pay at amounts lower than
the billed amount

91. DEFENDANT acted wrongfully by unilaterally determining the rates to be paid for each
service, by determining rates that were below usual, customary, and reasonable rates, and
by convincing the Patients to pay at the lower "allowed" amounts via their explanation of

benefits forms

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DEFENDANT was aware of the economic relationship between the Physicians and the Patients
because DEFENDANT knew that the Physicians treated the patients and knew that the Patients
would have to pay some portion of the bills for the medical services provided by the l’hysicians.

PRAYER FOR RELIEF

WHEREFGRE, NA_MDY CONSULTING, INC. prays for judgment against defendants

as follows:

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l. For compensatory damages in an amount to be determined, plus statutory interest;

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2. For restitution in an amount to be deterrnined, plus statutory interest;

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3. For a declaration that DEFENDANT and DOES l-2U inclusive, are obligated to pay

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plaintiff all monies owed for medical services rendered to the Patient; and

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4. For such other further relief the Court deems just and appropriate

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Hani Farah

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Attorney for Plaintit`f

NAi\/IDY CONSULTING, INC.

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DEMANI) FOR JURY TRIAL

Plaintiff, NAMDY CONSULTING, INC., hereby demands ajury trial as provided by law.

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Hani Farah
Attorney for Plaintiff

NAMDY CONSULTING, INC.

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EXhibit A

 

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Exhibit l?
ASSI§§§M:§: ANB ASSUMPTION AG§_§EMENT

'I'HIS ASSI.GNMENT AND ASSUMPTION AGRBBMENT (this “Assignment
Agreement”) is made as of Aupuet 18, 201__5__, by and between.:e£ timesch (the “Assignor"} and
NAMDY Management Co., luc. (the “Assignee”). '\i§‘°ai §'°“P ms

RECITAL

Assignor and Assignee entered into a Purchase and Assignment Agreement, dated as of
salts/2015 {“Agreement""). Terms not defined herein shall have the meaning ascribed to them in
the Agreement.

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In consideration of the promises and for the mutual covenants herein contained and for
other good and valuable consideration the receipt and sufficiency of which are hereby
acknowledged Assigncr and designee agree as follows:

l. 'l`he Assignor hereby assigns and transfers to the Assignee all ot` die Assignor’s
rights, remedies, title, and interests, without limitation in fulfilling the obligations imposed on
the Assignee by the Agreernent Such assignment and transfer includes but is not limited to, all
of Assignor’s rights remedies, titles, and interest in and to any and ali Outstanding Bills that the
Assignor provides to the Assignee dining the tenn of the Agreement.

2. The Assignee hereby accepts the foregoing assignment

3. The Assignor agrees to, consents to, and authorizes the disclosure and release to
Assiguee by any insurance company or other entity (“Debtor Company”) of any and all
infonna.t;ion of any kind that may be necessary in pursuit of collecting the Outstanding Bi}ls
discussed in the Agreement, including without limitation confidential materials, health
information and personal information Assignee is bound by separate obligation to keep such
information confidential in compliance with ali applicable laws

4. The Assignor agrees that Asslgnee may, without limitation investigate appeal,

seek reconsideration of any denied claims, prosecute and tile lawsuits or take any other
necessary and appropriate action in pursuit of the Agreenierrt

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IN WITNESS WI~IERBOF, the parties hereto have executed this Assigement and
Assumption Agreement as of the date written above

NAMDY MANAGEMBNT CO., JNC. 335 EWBfB¢’-‘HW Me¢iwl Gf¢u¥>. ENC
(“Assignee”) (“Assignor”)

By: iq M/“ By~.

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Title: pin Title: P|'P~Bid€fli '

 

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EXhibit B

 

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OO.¢§.
OO.QHW
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330 QSN>WNP
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mwhwmww
Hmmd~m¢
memwm¢
mHmmNH¢
mmHmHHw
mm~mmo¢
mwmdmh¢
Mmmomm¢
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§me §§
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£_SI mch
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£_mwr mch
§me §§
§me wch
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wwmmma¢
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PROOF (}F SERVIC§

At the time of service, l was over eighteen years of age and not a party to this action. l arn
employed in the Connty of San Diego, State of California. My business address is i5525
Pornerado Road, Suite E-G, Poway, CA 92064.

On April 25, 2016, l served true and correct copies of the following document(s) by the
method indicated below orr the party included on the attached service list:

Stipulation Re arding Leave to File Amended Comp)laint; Second Amended
Complaint inc riding correct defendants; Proposed rder.

 

FAX: by transmitting via facsimile on this date from tax number (858) 451-2006 the
document(s) listed above_to the tax number(s) set forth below. The transmission was
completed before 5:0() P.M. and was reported complete without error. 'l`he transmitting
i`ax machine complies with Cal.R.Ct 2003(3).

MAIL: by placing the document(s) listed above in a sealed envelope or package With
postage thereon fully prepaid, in the United States mail at the Poway, California
address as set forth above. l am readily familiar with the office’s practice of collection
and processing cf correspondence for mailing Under that practice, it would be
deposited with the U.S. Postal Service on that same day with postage thereon fully
prepaid in the ordinary course of business

PROCESS SERVER: by placing the document(s) listed above in a sealed envelope or
package and by causing personal delivery of the envelope or package to the person(s) at
the address(es) set forth below. A signed proof of service by the process server or
delivery service will be filed shortly.

PERSONAL SERVICE: by personally delivering the document(s) listed above to the
person(s) whose address is set forth below.

NEXT DAY I)ELIVERY: by placing the document(s) listed above in a sealed
envelope or package and consigning it to an express mail service for guaranteed
delivery on the next business day following the date of consignment to the address(es)
set forth below. (V!A UPS)

EMAIL: by transmitting via email to the parties at the ernail addressed listed below.

 

 

 

 

 

 

 

 

 

l declare under penalty of perjury under the laws of the State of California that the above
is true and correct. Executed on April 25, 2016, at San Diego, California.

/s/
HANI FARAH

 

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SERVICE LIST
Dana L. Stenvick Attorney for Det`endant,
Cole Predroza LLP . Cigna Health and Life Insurance Cornpany

2670 Mission Street, Suite 200
San Marino, CA 91108

